         Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 1 of 25




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS
                              KANSAS CITY DIVISION

BEAU CHARBONNEAU,           )
On Behalf of Himself and All Others
                            )                      JURY TRIAL DEMANDED
Similarly Situated,         )
                            )
       Plaintiff,           )
                            )
vs.                         )                      Case no.:
                            )
MORTGAGE LENDERS OF AMERICA,)
L.L.C.                      )
                            )
       Defendant.           )


                        PLAINTIFF’S ORIGINAL COMPLAINT
            Collective Action under §216(b) of FLSA and Rule 23 Class Action

        Plaintiff Beau Charbonneau, on behalf of himself and all others similarly situated, by

and through counsel, for his Complaint against Defendant Mortgage Lenders of America,

L.L.C. (“MLOA” or “Defendant”) states as follows:

                              PRELIMINARY STATEMENT

1.      Plaintiff Beau Charbonneau is a former Team Lead and Loan Officer for MLOA. In

        both roles, he sold mortgages to individual customers primarily over the telephone and

        through the internet. MLOA misclassified him and other Team Leads as exempt

        employees and did not pay them overtime for all hours worked over 40 per week.

2.      When he worked as a Loan Officer, MLOA classified him and other Loan Officers as

        non-exempt, hourly employees, but MLOA failed to pay Loan Officers for all hours

        worked including overtime.

3.      MLOA employs over 300 lending professionals and is headquartered in Overland Park,

        Kansas.

                                              1
      Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 2 of 25




4.   This is a collective action brought by Individual and Representative Plaintiff Beau

     Charbonneau on his own behalf and on behalf of the proposed classes and any

     subclasses. There are two FLSA classes: (1) Plaintiff and the putative class members

     who are or were employed by MLOA as “Team Leads,” “Team Leaders,” and in

     similar job titles, and were denied overtime compensation as required by federal wage

     and hour laws, and (2) Plaintiff and the putative class members who are or were

     employed by MLOA as “Loan Officers,” “Mortgage Loan Officers,” “Entry Level

     Loan Officers,” and other mortgage origination employees in similar job titles, and

     were denied minimum wage and/or overtime compensation as required by federal wage

     and hour laws. These employees are similarly situated under the Fair Labor Standards

     Act (“FLSA”), 29 U.S.C. § 216(b).

5.   The FLSA Team Lead Collective is made up of all persons who are, have been, or will

     be employed by Defendant as “Team Leads,” “Team Leaders,” and in similar job titles

     (collectively as “Team Leads”), within the United States at any time within the last

     three years through the date of final disposition of this action (the “Collective Period”).

6.   During the Collective Period, Defendant misclassified Team Leads and failed to pay

     them overtime compensation as required by federal and state law. Plaintiff seeks relief

     for the FLSA Team Lead Collective under the FLSA to remedy Defendant’s failure to

     pay all wages due including appropriate overtime compensation, maintain and

     distribute accurate time records, and injunctive relief.

7.   Likewise, the FLSA Loan Officer Collective is made up of all persons who are, have

     been, or will be employed by Defendant as “Loan Officers,” “Mortgage Loan

     Officers,” “Entry Level Loan Officers,” and other mortgage origination employees in


                                              2
       Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 3 of 25




      similar job titles within the United States at any time within the Collective Period.

8.    MLOA’s policy and practice is to deny earned wages including minimum wage and/or

      overtime pay to its Loan Officers. In particular, MLOA requires these employees to

      perform work in excess of forty (40) hours per week but fails to pay them minimum

      wages and/or overtime for all hours worked.

9.    MLOA’s deliberate illegal treatment of its Team Leads and Loan Officers, which

      denies them minimum wage and/or overtime compensation results in MLOA willfully

      violating the FLSA.

10.   Individual and Representative Plaintiff Beau Charbonneau, pursuant to Fed. R. Civ. P.

      23, also asserts class claims for violations of Kansas common law and Kansas wage

      laws, K.S.A. §§ 44-301, et seq. (“Kansas Wage Payment Act” or “KWPA”).

                                             PARTIES
11.   Plaintiff Beau Charbonneau currently resides in Lenexa, Kansas. During the applicable

      three-year FLSA statute of limitations, MLOA employed Plaintiff Charbonneau as a

      Team Lead from approximately early 2014 through November 2016, and then as a

      Loan Officer from approximately November 2016 through November 2017. MLOA

      employed Plaintiff at Defendant’s offices located in Overland Park, Kansas. Plaintiff’s

      Consent to become a Party Plaintiff pursuant to 29 U.S.C. § 216(b) is filed as an

      Exhibit to this Complaint.

12.   Defendant Mortgage Lenders of America, L.L.C. is a Kansas limited liability company

      with its principal office located at 10975 El Monte St., Overland Park, Kansas 66211.

      MLOA does business in this judicial district and nationwide thru the internet and other

      media.



                                               3
       Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 4 of 25




                              JURISDICTION AND VENUE

13.   This Court has original federal question jurisdiction under 28 U.S.C. § 1331 for the

      claims brought under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq.

14.   This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant to

      28 U.S.C. § 1367 since it is part of the same case and controversy as the FLSA claim.

      The state and federal claims derive from a common nucleus of operative fact, the state

      law claims will not substantially dominate over the FLSA claim, and exercising

      supplemental jurisdiction would be in the interests of judicial economy, convenience,

      fairness, and comity.

15.   The United States District Court for the District of Kansas has personal jurisdiction

      because MLOA conducts business within this District.

16.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), inasmuch as Defendant

      has offices, conducts business, and can be found in the District of Kansas, and the

      causes of action set forth herein have arisen and occurred in part in the District of

      Kansas. Venue is also proper under 29 U.S.C. §1132(e)(2) because Defendant has

      substantial business contacts within the state of Kansas. Finally, venue is also proper

      in this Court because Plaintiff entered into a Loan Officer Agreement with Defendant

      which places venue in this Court.

                                   FACTUAL ALLEGATIONS

17.   MLOA is “one of America’s favorite online mortgage lenders.” MLOA “employs over

      300 lending professionals . . . “ See https://www.mortgagelendersofamerica.com/about-

      us.

18.   At all relevant times, Defendant has been, and continues to be, an “employer” engaged


                                             4
       Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 5 of 25




      in the interstate “commerce” and/or in the production of “goods” for “commerce”

      within the meaning of the FLSA, 29 U.S.C. § 203.

19.   At all relevant times, Defendant has employed, and/or continues to employ,

      “employee[s],” including Plaintiff and all similarly situated employees.

20.   At all relevant times, Defendant has had gross operating revenues in excess of

      $500,000.00 which is the threshold test for the “enterprise” requirement under the

      FLSA.

                                      TEAM LEADS

21.   Defendant employed Plaintiff and other employees as Team Leads.

22.   Defendant classifies Plaintiff and other Team Leads as exempt employees and does not

      pay them overtime compensation.

23.   The primary duty of Team Leads is to sell mortgages.

24.   Team Leads regularly work in excess of forty (40) hours in a workweek.

25.   Defendant knows and/or should know Team Leads regularly perform after-hours and

      weekend work, resulting in workweeks in excess of forty (40) hours, because

      Defendant directs its customers to contact these employees on their personal cell

      phones and also observes their loan production results.

26.   Defendant failed to pay Plaintiff and the other Team Leads at least $455 per week on a

      salary basis.

27.   Instead, Defendant paid Plaintiff and the other Team Leads a monthly $1,000

      recoverable draw.

28.   In addition, Defendant paid Plaintiff and the other Team Leads a monthly amount equal

      to $175 times the number of Loan Officers MLOA assigned to the Team Leaders’

                                              5
       Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 6 of 25




      team. MLOA then netted out this monthly amount from the $1,000 recoverable draw.

29.   Accordingly, Defendant failed to pay Plaintiff and the other Team Leads at least $455

      per week on a salary basis so Plaintiff and the other Team Leads do not qualify for any

      “white collar” FLSA exemption.

30.   Defendant also paid Plaintiff and other Team Leads commissions on their sales of

      mortgage related products.

31.   In addition, Defendant paid Plaintiff and the other Team Leads commissions on the

      sales of Loan Officers Defendant assigned to the Team Leads’ team.

32.   Defendant uniformly applied this payment structure to Plaintiff and other Team Leads.

33.   Furthermore, Plaintiff and other Team Leads did not regularly supervise the work of

      two or more employees.

34.   Plaintiff and other Team Leads did not exercise discretion and independent judgment

      as to matters of significance.

35.   Plaintiff and other Team Leads did not perform office work related to MLOA’s general

      business operations or its customers.

36.   Plaintiff and other Team Leads had no advance knowledge in a field of science or

      learning which required specialized instruction that was required to perform the job.

37.   MLOA does not require Plaintiff and other Team Leads to have a college degree to

      obtain a Team Lead job.

38.   All Team Leads are similarly situated in that they share common job duties and

      descriptions, MLOA treated them as exempt employees, and they all performed work

      without overtime compensation.

39.   Defendant did not keep accurate records of the hours Plaintiff and other Team Leads


                                              6
       Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 7 of 25




      worked.

40.   Because Defendant did not pay Plaintiff and other Team Leads for all the hours they

      worked including overtime hours, Defendant’s wage statements did not accurately

      reflect all hours Plaintiff and other Team Leads worked.

41.   Defendant did not provide Plaintiff and the other Team Leads with paychecks and/or

      accurate paychecks.

42.   Defendant did not pay Plaintiff and other Team Leads for all of their overtime hours.

      Accordingly, Defendant did not provide Plaintiff and other Team Leads with all

      compensation owed to them, including their unpaid overtime, at the time they separated

      from the company.

                                    LOAN OFFICERS

43.   Defendant uniformly classified Plaintiff and other Loan Officers as hourly, non-exempt

      employees who are entitled to minimum wage and overtime compensation.

44.   Defendant paid Plaintiff and other Loan Officers on a draw against commission basis.

45.   Under this uniform payment plan, Defendant recaptured any minimum wage paid to

      Plaintiff and other Loan Officers from their paid commissions.

46.   Defendant, however, failed to pay Plaintiff and Loan Officers for all of their work

      hours including both straight time and overtime.

47.   By way of example, after Plaintiff left his Team Lead position in approximately

      November 2016, Plaintiff began working for Defendant as a Loan Officer.

48.   Defendant did not pay Plaintiff for all of his work hours including overtime

      compensation despite the fact that he routinely worked over eight hours per day and

      more than 40 hours per week. Defendant also offset any minimum wage payments to


                                             7
       Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 8 of 25




      Plaintiff from his commissions.

49.   Defendant uniformly applied its payment structure to all Loan Officers.

50.   Defendant suffered and permitted Plaintiff and other Loan Officers to work more than

      forty hours per week without minimum wage and/or overtime compensation for all

      hours worked. For example, Plaintiff and other Loan Officers regularly worked at least

      five days a week. They usually began work in the morning. In addition, Plaintiff and

      other Loan Officers regularly worked into the evenings and on the weekends, causing

      their hours worked to exceed forty in a week on a regular basis.

51.   For example, while a Loan Officer, Plaintiff’s schedule fluctuated from day-to-day. His

      regular schedule had him working in the office Mondays through Fridays, generally

      from 10 am until 6 pm. Additionally, Plaintiff began checking and responding to work

      emails and calls each morning at approximately 7 am and continuing until he arrived at

      the office, and he continued taking calls after leaving the office each night until 9 pm

      and returning emails until 10 pm. Plaintiff also worked nearly every weekend, generally

      spending 2 ½ hours each weekend day in the office taking leads and also performing

      additional hours of work sending and receiving business-related emails, texts, and/or

      phone calls. As such, during this time period, Plaintiff’s regular schedule had him

      working an average of 55 hours per week.

52.   Defendant knew Plaintiff and other Loan Officers worked more than forty hours in a

      week because Defendant expected Plaintiff and Loan Officers to be available to receive

      phone calls and answer emails – from customers, realtors and from Defendant’s

      management employees – in the evenings and on weekends.

53.   As another example, Defendant allowed Plaintiff and the other Loan Officers to


                                             8
       Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 9 of 25




      provide their cell phone number on their business cards such that customers contacted

      them before and after regular office hours.

54.   Further, Defendant required Plaintiff and other Loan Officers to provide their cell

      phone number on their email signature line such that customers contacted them before

      and after regular office hours.

55.   In addition, Defendant provided Plaintiff and other Loan Officers with VPN remote

      computer access such that they could access Defendant’s computer system outside of

      the office.

56.   Finally, Defendant caused one hour to be deducted from Loan Officers’ work time

      Monday through Friday for a meal period regardless of whether or not the Loan

      Officers actually stopped working for a one-hour meal period.

57.   Defendant uniformly denied Plaintiff and other Loan Officers pay for all of the work

      they performed including both straight time and overtime compensation.

58.   In reality, Plaintiff and other Loan Officers are and were non-exempt sales employees

      who are and were entitled to compensation for all time worked including overtime.

59.   Defendant’s Loan Officer Compensation Schedule, which is a part of its written Loan

      Officer Agreement, even contractually promises to pay each of its Loan Officers,

      including Plaintiff, an agreed hourly rate plus overtime premiums for all hours worked

      in excess of forty (40) in workweek.

60.   Defendant is in the business of selling mortgage related products.

61.   Plaintiff and the other Loan Officers had the same primary duty of selling loan

      products.

62.   Plaintiff and other Loan Officers did not customarily and regularly make sales at their


                                              9
      Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 10 of 25




      customers’ home or place of business.

63.   Instead, Plaintiff and other Loan Officers regularly made sales over the phone, via the

      internet, and/or in person at Defendant’s offices.

64.   Plaintiff and other Loan Officers did not regularly supervise the work of two or more

      employees.

65.   Plaintiff and other Loan Officers did not exercise discretion and independent judgment

      as to matters of significance.

66.   Plaintiff and other Loan Officers did not perform office work related to MLOA’s

      general business operations or its customers.

67.   Plaintiff and other Loan Officers had no advance knowledge in a field of science or

      learning which required specialized instruction that was required to perform the job.

68.   MLOA does not require Plaintiff and other Loan Officers to have a college degree to

      obtain a Loan Officer job.

69.   All Loan Officers are similarly situated in that they share common job duties and

      descriptions, MLOA treated them as non-exempt employees at relevant times, and they

      all performed work without payment for minimum wage and/or overtime

      compensation.

70.   Defendant did not keep accurate records of the hours Plaintiff and other Loan Officers

      worked. Because Defendant did not pay Plaintiff and other Loan Officers for all the

      hours they worked including overtime hours, Defendant’s wage statements did not

      accurately reflect all hours Plaintiff and other Loan Officers worked.

71.   Defendant did not provide Plaintiff and the other Loan Officers with paychecks and/or

      accurate paychecks.


                                              10
      Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 11 of 25




72.   Defendant did not pay Plaintiff and other Loan Officers for all of their minimum wage,

      gap time, and/or overtime hours. Accordingly, Defendant did not provide Plaintiffs and

      other Loan Officers with all compensation owed to them, including their unpaid

      overtime, at the time they separated from the company.

73.   Defendant is aware of wage and hour laws, as evidenced by the fact that they provide

      minimum wage and overtime compensation to other employees who are not Team

      Leads or Loan Officers.

74.   Moreover, it is common industry knowledge that courts and the United States

      Department of Labor have found mortgage loan officers to be non-exempt entitled to

      be paid minimum wage and/or overtime compensation for all hours worked.

75.   Defendant’s conduct, as set forth in this Complaint, was willful and in bad faith, and

      has caused significant damages to Plaintiff, and other Loan Officers and Team Leads.

                                FLSA Team Lead Collective

76.   Plaintiff brings Count I on behalf of h i mself and other similarly situated employees

      as authorized under the FLSA, 29 U.S.C. § 216(b). The similarly situated employees

      are:

      All persons who are, have been, or will be employed by Defendant as “Team Lead”
      “Team Leaders,” and other individuals with similar job titles within the United States
      at any time during the last three years through the entry of judgment in this case
      (“FLSA Team Lead Collective”).

      Plaintiffs will subclass the FLSA Team Lead Collective as necessary for certification

      and/or litigation purposes.

77.   Defendant’s misclassification of Team Leads as exempt employees and not paying

      them overtime for work hours over 40 per week is a uniform policy, decision, and/or

      plan that applies to all Team Leads.

                                             11
      Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 12 of 25




78.   Accordingly, Plaintiff and the FLSA Team Lead Collective were subject to

      Defendant’s policy, decision, and/or plan of failing to pay appropriate overtime

      compensation.

79.   Defendant’s unlawful FLSA conduct has been widespread, repeated, and consistent.

80.   Upon information and belief, Defendant knew that Plaintiff and the FLSA Team Lead

      Collective performed work that required overtime pay. Defendant suffered and

      permitted them to work long hours and weekends without the proper pay, Plaintiff

      and/or those similarly situated complained to Defendant about these practices, and it is

      common industry knowledge that loan officers are non-exempt employees who must be

      paid for all hours worked. Defendant operated under a scheme to deprive these

      employees of overtime compensation by failing to properly compensate them for all

      hours worked.

81.   Defendant’s conduct, as set forth in this Complaint, was willful and in bad faith, and

      has caused significant damages to Plaintiff and the FLSA Team Lead Collective.

82.   Defendant is liable under the FLSA for failing to properly compensate Plaintiff and the

      FLSA Team Lead Collective, and as such, notice should be sent to the FLSA Team

      Lead Collective. There are numerous similarly situated, current and former employees

      of Defendant who have been denied overtime pay in violation of the FLSA who would

      benefit from the issuance of a Court supervised notice of the present lawsuit and the

      opportunity to join. Those similarly situated employees are known to Defendant and

      are readily identifiable through Defendant’s records.

                               FLSA Loan Officer Collective

83.   Plaintiff brings Count I I on behalf of h i mself and other similarly situated


                                             12
      Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 13 of 25




      employees as authorized under the FLSA, 29 U.S.C. § 216(b). The similarly situated

      employees are:

      All persons who are, have been, or will be employed by Defendant as “Loan Officers,”
      “Mortgage Loan Officers,” “Entry Level Loan Officers,” and other individuals who
      originated loan products with similar job titles within the United States at any time
      during the last three years through the entry of judgment in this case (“FLSA Loan
      Officer Collective”).

      Plaintiffs will subclass the FLSA Collective as necessary for certification and/or

      litigation purposes.

84.   Upon information and belief, Defendant suffered and permitted Plaintiff and the FLSA

      Loan Officer Collective to work more than forty hours per week without payment for

      all minimum wage and/or overtime compensation.

85.   Defendant’s failure to pay for all work hours including those hours over 40 per week is

      a uniform policy, decision, and/or plan that applies to all Loan Officers.

86.   Accordingly, Plaintiff and the FLSA Loan Officer Collective were subject to

      Defendant’s policy, decision, and/or plan of failing to pay for all time worked

      including appropriate overtime compensation.

87.   Defendant’s unlawful FLSA conduct has been widespread, repeated. and consistent.

88.   Upon information and belief, Defendant knew that Plaintiff and the FLSA Loan Officer

      Collective performed work that required pay for all time worked including overtime.

      Defendant required them to work long hours and weekends without the proper pay,

      Plaintiff and/or those similarly situated complained to Defendant about these practices,

      and it is common industry knowledge that loan officers are non-exempt employees

      who must be paid for all hours worked. Defendant operated under a scheme to deprive

      these employees of overtime compensation by failing to properly compensate them for


                                              13
      Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 14 of 25




      all hours worked.

89.   Defendant’s conduct, as set forth in this Complaint, was willful and in bad faith, and

      has caused significant damages to Plaintiff and the FLSA Loan Officer Collective.

90.   Defendant is liable under the FLSA for failing to properly compensate Plaintiff and the

      FLSA Loan Officer Collective, and as such, notice should be sent to the FLSA

      Loan Officer Collective. There are numerous similarly situated, current and former

      employees of Defendant who have been denied overtime pay in violation of the FLSA

      who would benefit from the issuance of a Court supervised notice of the present

      lawsuit and the opportunity to join. Those similarly situated employees are known to

      Defendant and are readily identifiable through Defendant’s records.

                               FLSA Loan Officer Classes

91.   Plaintiff brings Count III, the KWPA claim, as a Rule 23 class action on behalf of

      himself and the following persons:

      All persons who are, have been, or will be employed by Defendant as “Loan Officers,”
      “Mortgage Loan Officers,” “Entry Level Loan Officers,” and other individuals who
      originated loan products with similar job titles within the State of Kansas at any time
      during the last three years through the entry of judgment in this case (“KWPA Loan
      Officer Class”).

92.   Plaintiff brings Counts IV, the Kansas unjust enrichment/quantum meruit claim, as a

      Rule 23 class action on behalf of himself and the following persons:

      All persons who are, have been, or will be employed by Defendant as “Loan Officers,”
      “Mortgage Loan Officers,” “Entry Level Loan Officers,” and other individuals who
      originated loan products with similar job titles within the State of Kansas at any time
      during the last three years through the entry of judgment in this case (“Kansas Unjust
      Enrichment Loan Officer Class”).

93.   Plaintiff brings Counts V, the Kansas breach of contract claim, as a Rule 23 class

      action on behalf of himself and the following persons:

      All persons who are, have been, or will be employed by Defendant as “Loan Officers,”
                                            14
          Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 15 of 25




          “Mortgage Loan Officers,” “Entry Level Loan Officers,” and other individuals who
          originated loan products with similar job titles within the State of Kansas at any time
          during the last five years through the entry of judgment in this case (“Kansas Breach of
          Contract Loan Officer Class”).

    94.   Plaintiff’s Rule 23 class claims satisfy the numerosity, commonality, typicality,

          adequacy, and superiority requirements of a class action pursuant to Fed. R. Civ. P. 23.

    95.   Plaintiff’s Rule 23 state law claims satisfy the numerosity requirement of a class action.

          The Rule 23 Class Members1 identified above are so numerous that joinder of all

          members is impracticable. Although the precise number of potential class members is

          unknown, and the facts for calculating that number are presently within the sole control

          of Defendant, upon information and belief, there are more than one hundred (100)

          Class members.

    96.   Questions of law and fact common to the Rule 23 Class Members predominate over

          questions that may affect only individual members because Defendant has acted on

          grounds generally applicable to all Rule 23 Class Members. Among the questions of

          law and fact common to Plaintiff and the Rule 23 Class Members are:

                a. whether Defendant employed the Rule 23 Class Members within the

                    meaning of state common law and wage laws;

                b. whether Defendant contractually promised to pay Class Members overtime

                    premiums in exchange for all work performed in excess of forty (40) hours in

                    a workweek as a term and condition of their employment;

                c. whether Defendant unlawfully failed to accurately record and pay for all

                    overtime hours worked by the Rule 23 Class Members;



1
  Plaintiff refers to the “KWPA Loan Officer Class,” the “Kansas Unjust Enrichment Class” and
the “Kansas Breach of Contract Loan Officer Class” collectively as “Rule 23 Class Members.”
                                                  15
      Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 16 of 25




            d. whether Defendant has been unjustly enriched;

            e. whether Defendant breached its contractual obligation to pay Class Members

                their agreed hourly rate and premium pay for all hours worked, including

                both straight time and overtime hours; and

            f. whether Defendant is liable for all damages claimed hereunder, including but

                not limited to compensatory and statutory damages, interests, costs, and

                attorneys’ fees.

97.   Plaintiff’s claims under Kansas state law are typical of those of the classes’ in that class

      members have been employed in the same or similar positions as Plaintiff and were

      subject to the same or similar unlawful practices as Plaintiff.

98.   The common questions set forth above predominate over any questions affecting only

      individual persons, and a class action is superior with respect to considerations of

      consistency, economy, efficiency, fairness, and equity to other available methods for

      the fair and efficient adjudication of the state law claims.

99.   A class action is appropriate for the fair and efficient adjudication of this controversy.

      Defendant acted or refused to act on grounds generally applicable to the entire class.

      The presentation of separate actions by individual class members could create a risk of

      inconsistent and varying adjudications, establish incompatible standards of conduct for

      Defendant, and/or substantially impair or impede the ability of the class members to

      protect their interests. The damages suffered by individual class members may be

      relatively small, and the expense and burden of individual litigation make it virtually

      impossible for the members of the class action to individually seek redress for the

      wrongs done to them.


                                               16
       Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 17 of 25




100.   Plaintiff will fairly and adequately represent the interests of the Rule 23 Class

       Members, and has retained counsel that is experienced and competent in the fields of

       wage and hour law and class action litigation. Plaintiff has no interest that is contrary

       to or in conflict with those members of this class and collective action.

                                      COUNT I
       Collective Action under §216(b) of the FAIR LABOR STANDARDS ACT
                                Overtime Claims
                             FLSA Team Lead Collective

101.   Plaintiff hereby incorporates by reference the foregoing paragraphs of this Complaint

       into this count.

102.   The FLSA requires each covered employer such as Defendant to compensate all non-

       exempt employees at a rate of not less than one and one-half times the regular rate of

       pay for work performed in excess of forty hours per work week.

103.   Plaintiff and the FLSA Team Lead Collective are entitled to be paid overtime

       compensation for all hours worked.

104.   Defendant, pursuant to their policies and practices, failed and refused to pay overtime

       premiums to Plaintiff and the FLSA Team Lead Collective for all of their hours

       worked.

105.   Defendant violated the FLSA, 29 U.S.C. § 201 et seq. by failing to compensate

       Plaintiff and the FLSA Team Lead Collective for all overtime compensation.

106.   By failing to record, report, and/or preserve accurate records of hours worked by

       Plaintiff and the FLSA Team Lead Collective, Defendant failed to make, keep, and

       preserve records with respect to each of their employees sufficient to determine their

       wages, hours, and other conditions and practice of employment, in violation of the

       FLSA, 29 U.S.C. § 201 et seq.

                                               17
       Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 18 of 25




107.   The foregoing conduct, as alleged herein, constitutes a willful violation of the FLSA

       within the meaning of 29 U.S.C. § 255(a).

108.   Plaintiff, on behalf of himself and the FLSA Team Lead Collective, seeks damages in

       the amount of all respective unpaid overtime compensations at a rate of one and one-

       half times the regular rate of pay for work performed in excess of forty hours in a work

       week, plus liquidated damages as provided by the FLSA, 29 U.S.C. § 216(b), interest,

       and such other legal and equitable relief as the Court deems just and proper.

109.   Plaintiff, on behalf of himself and the FLSA Team Lead Collectives seek recovery of

       all attorneys’ fees, costs, and expenses of this action, to be paid by Defendant, as

       provided by the FLSA, 29 U.S.C. § 216(b).

                                       COUNT II
             Collective Action under §216(b) of the FAIR LABOR STANDARDS
                        Act Minimum Wage and Overtime Claims
                              FLSA Loan Officer Collective

110.   Plaintiff hereby incorporates by reference the foregoing paragraphs of this Complaint

       into this count.

111.   The FLSA requires each covered employer such as Defendant to compensate all non-

       exempt employees at a rate of not less than the applicable minimum wage for all hours

       worked up to forty hours per week and one and one-half times the regular rate of pay

       for work performed in excess of forty hours per work week.

112.   Plaintiff and the FLSA Loan Officer Collective are entitled to be paid minimum wage

       and/or overtime compensation for all hours worked.

113.   Defendant, pursuant to their policies and practices, failed and refused to pay minimum

       wage and/or overtime premiums to Plaintiff and the FLSA Loan Officer Collective for

       all of their hours worked.

                                              18
       Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 19 of 25




114.   Defendant violated the FLSA, 29 U.S.C. § 201 et seq. by failing to compensate

       Plaintiff and the FLSA Loan Officer Collective for all minimum wage and/or overtime

       compensation.

115.   By failing to record, report, and/or preserve accurate records of hours worked by

       Plaintiff and the FLSA Loan Officer Collective, Defendant failed to make, keep, and

       preserve records with respect to each of their employees sufficient to determine their

       wages, hours, and other conditions and practice of employment, in violation of the

       FLSA, 29 U.S.C. § 201 et seq.

116.   The foregoing conduct, as alleged herein, constitutes a willful violation of the FLSA

       within the meaning of 29 U.S.C. § 255(a).

117.   Plaintiff, on behalf of himself and the FLSA Loan Officer Collective, seeks damages in

       the amount of all respective unpaid minimum wage and/or overtime compensations at a

       rate of one and one-half times the regular rate of pay for work performed in excess of

       forty hours in a work week, plus liquidated damages as provided by the FLSA, 29

       U.S.C. § 216(b), interest, and such other legal and equitable relief as the Court deems

       just and proper.

118.   Plaintiff, on behalf of himself and the FLSA Loan Officer Collectives seek recovery of

       all attorneys’ fees, costs, and expenses of this action, to be paid by Defendant, as

       provided by the FLSA, 29 U.S.C. § 216(b).

                                       COUNT III
                Fed.R.Civ.P. 23 Class Action For Violation Of The KWPA
                                KWPA Loan Officer Class

119.   Plaintiff, on behalf of himself and the KWPA Class Members, reasserts the allegations

       set forth in the above paragraphs.


                                             19
       Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 20 of 25




120.   At all material times hereto, Plaintiff and the KWPA Class Members were employed

       by Defendant, who is located within the State of Kansas, and have been entitled to the

       rights, protections, and benefits provided under the Kansas Wage Payment Act.

121.   Pursuant to K.S.A. §§ 44-301 et seq., Plaintiff brings Count III individually and on

       behalf of the KWPA Loan Officer Class Members for Defendant’s unlawful

       withholding of straight time and overtime wages in violation of Kansas wage laws,

       K.S.A. §§ 44-301, et seq., specifically K.S.A. § 44-314.

122.   The state law claim, if certified for class-wide treatment, may be pursued by all

       similarly situated persons who do not opt out of the Class.

123.   Defendant is subject to the pay requirements of K.S.A. § 44-314 because Defendant is

       an employer in the state of Kansas under K.S.A. §§ 44-313(a) and 44-323, and Plaintiff

       and the KWPA Class Members are employees under K.S.A. § 44-313(b).

124.   Pursuant to K.S.A § 44-314, Defendant is required to pay Plaintiff and the KWPA

       Loan Officer Class Members all wages due, including straight time and overtime

       wages, at the next regularly designated payday to be scheduled at least once each

       calendar month.

125.   By failing to accurately record, maintain records of, and pay for Plaintiff’s and KWPA

       Class Members’ actual hours worked, Defendant willfully reduced the total number of

       hours on Plaintiff’s and KWPA Loan Officer Class Members’ paychecks. These

       unlawful policies and practices resulted in these Kansas employers’ systematic, willful

       withholding of wages in violation of K.S.A. § 44-314.

126.   Defendant was obligated by the Fair Labor Standards Act, its own contractual

       promises, and Kansas common law to pay these wages due, but Defendant unlawfully


                                              20
       Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 21 of 25




       withheld these wages, thereby violating the KWPA.

127.   Defendant is liable to Plaintiff and the KWPA Loan Officer Class Members pursuant to

       K.S.A. §§ 44-315 and 44-323 for unpaid wages including straight time and overtime

       compensation, an additional equal amount as a penalty, plus interest, reasonable

       attorneys’ fees, and costs of this action.

       WHEREFORE, Plaintiff and all similarly situated employees demand judgment against

Defendant and pray this Court:

       a. Certify the state law claim set forth in Count III above as a class action pursuant to

          Rule 23 of the Federal Rules of Civil Procedure;

       b. Designate Plaintiff Beau Charbonneau as the Class Representative of the KWPA

          Loan Officer Class and undersigned counsel as the attorneys representing the

          KWPA Loan Officer Class;

       c. Award Plaintiff and all similarly situated employees compensatory damages and up

          to an equal amount as a penalty, plus interest pursuant to K.S.A. §§ 44-315 and 44-

          323;

       d. Award Plaintiff and all similarly situated employees prejudgment and post-

          judgment interest as provided by law

       e. Award Plaintiff and all similarly situated employees attorneys’ fees and costs; and

       f. Award Plaintiff and all similarly situated employees such other relief as this Court

          deems fair and equitable.

                                      COUNT IV
         Fed.R.Civ.P. 23 Class Action for Unjust Enrichment/Quantum Meruit
                      Kansas Unjust Enrichment Loan Officer Class

128.   Plaintiff Beau Charbonneau, on behalf of himself and the Kansas Unjust Enrichment


                                                21
        Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 22 of 25




        Loan Officer Class, reasserts the allegations set forth in the above paragraphs.

129.    Plaintiff and the Kansas Unjust Enrichment Loan Officer Class conferred a benefit

        upon Defendant by working “off-the-clock” on their behalf without compensation.

130.    Defendant was aware that it was receiving the benefit of this unpaid work at the time

        the work was performed and accepted and retained that benefit without paying fair

        compensation for the same.

131.    Defendant’s acceptance and retention of the benefit of the Kansas Unjust Enrichment

        Loan Officer Class Members’ unpaid labor was inequitable and resulted in Defendant

        being unjustly enriched.

       WHEREFORE, Plaintiff and the Kansas Unjust Enrichment Loan Officer Class

demand judgment against Defendant and pray this Court:

        a. Certify the state law claim set forth in Count IV above as a class action pursuant to

           Rule 23 of the Federal Rules of Civil Procedure;

        b. Designate Plaintiff Beau Charbonneau as the Representative Plaintiff of the Kansas

           Unjust Enrichment Class Members and undersigned counsel as the attorneys

           representing the Kansas Unjust Enrichment Class Members;

        c. Order Defendant to disgorge the value of its ill-gained benefits to Plaintiff and all

           similarly situated employees;

        d. Award Plaintiff and all similarly situated employees prejudgment and post-

           judgment interest as provided by law; and

        e. Award Plaintiff and all similarly situated employees such other relief as this Court

           deems fair and equitable.




                                                22
         Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 23 of 25




                                        COUNT V
                    Fed.R.Civ.P. 23 Class Action for Breach of Contract
                        Kansas Breach of Contract Loan Officer Class

 132.   Plaintiff Beau Charbonneau, on behalf of himself and the Kansas Breach of Contract

        Loan Officer Class, reasserts the allegations set forth in the above paragraphs.

 133.   An employment compensation agreement existed between the Plaintiff and Defendant

        and a similar employment compensation agreement existed between each Kansas

        Breach of Contract Loan Officer Class member and Defendant, the terms and

        conditions of which included a requirement for employees to perform services for

        Defendant and an agreement by Defendant to pay Plaintiff and the other Kansas Breach

        of Contract Loan Officer Class members at an agreed hourly rate for all work

        performed, plus overtime premiums for all overtime work.

 134.   The agreements were made between parties capable of contracting and contained

        mutual obligations and valid consideration.       Plaintiff and the Kansas Breach of

        Contract Loan Officer Class performed all conditions precedent, if any, required of

        them under their employment agreements.

 135.   Defendant failed and refused to perform its obligations in accordance with the terms

        and conditions of the employment agreements by failing to compensate Plaintiff and

        the Kansas Breach of Contract Loan Officer Class for all time worked, including both

        straight and overtime hours.

 136.   Plaintiff and the Kansas Breach of Contract Class Members were thereby damaged in

        an amount to be determined at trial.

        WHEREFORE, Plaintiff and the Kansas Breach of Contract Loan Officer Class demand

judgment against Defendant and pray this Court:


                                                23
        Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 24 of 25




       a. Certify the state law claim set forth in Count V above as a class action pursuant to

           Rule 23 of the Federal Rules of Civil Procedure;

       b. Designate Plaintiff Beau Charbonneau as the Representative Plaintiff of the Kansas

           Breach of Contract Loan Officer Class and undersigned counsel as the attorneys

           representing the Kansas Breach of Contract Loan Officer Class;

       c. Order Defendant to pay all promised wages to Plaintiff and all similarly situated

           employees;

       d. Award Plaintiff and all similarly situated employees attorneys fees, expenses,

           prejudgment and post-judgment interest as provided by law; and

       e. Award Plaintiff and all similarly situated employees such other relief as this Court

           deems fair and equitable.

                                     Demand for Jury Trial

       Plaintiff, individually and behalf of all other similarly situated, hereby demands a jury

trial on all causes of action and claims with respect to which they have a right to jury trial

pursuant to Federal Rule of Civil Procedure 38(b).

                          DESIGNATION OF PLACE OF TRIAL

       Plaintiff hereby designates the United States District Court of the District of Kansas at

Kansas City as the place of trial.


Dated: February 5, 2018

                                              Respectfully submitted,

                                              DAVIS GEORGE MOOK LLC

                                              By: /s/ Tracey F. George
                                                   Brett A. Davis, Mo. Bar 43299
                                                   Tracey F. George, Mo. Bar 52361

                                              24
Case 2:18-cv-02062-HLT Document 1 Filed 02/05/18 Page 25 of 25




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                              25
